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 6
                              UNITED STATES DISTRICT COURT
 7                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                 SAN FRANCISCO DIVISION
 8
     IN RE: ROUNDUP PRODUCTS                           MDL No. 2741
 9   LIABILITY LITIGATION                              Case No. 16-md-02741-VC
10                                                     Hon. Vince Chhabria
     This document relates to:
11                                                     MOORE LAW GROUP, PLLC’S
     ALL ACTIONS
                                                       OBJECTION TO PRETRIAL ORDER NO.
12
                                                       312: ORDER REGARDING
13                                                     DISTRIBUTION OF COMMON BENEFIT
                                                       FUNDS
14

15          Moore Law Group, PLLC (“MLG”) respectfully submits the following objection to
16   Pretrial Order No. 312 (“PTO 312”).1
17          MLG greatly appreciates the Court’s recognition that the Fee Committee’s initial
18   proposed allocation was inadequate given the law firm’s significant contributions to the common
19   benefit of all MDL plaintiffs with its work as trial counsel in Hardeman and as settlement
20   negotiator for thousands of claimants and their law firms including multiple firms in leadership.
21   However, the current allocation contains a gross disparity as the three firms that serve on the Fee
22   Committee allocated themselves 81% of the Common Benefit Fund (the “Fund”). To allow this
23

24

25   1 MLG fully incorporates herein its Objection to Fee Committee’s Proposed Allocation of
     Common Benefit Funds filed on the docket on February 9, 2024. [Dkt. 17899]. MLG also
26   incorporates its Application for Distribution of Common Benefit Funds submitted to the Special
     Master and Fee Committee on December 5, 2023. These documents set forth in great detail
27
     MLG’s contributions to the common benefit in terms of hours spent, quality of work, impact of
28   the work from the only MDL trial, and work to obtain settlements for thousands of claimants.


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 1   would be an inequitable result and one that can be easily remedied by slight adjustments to the

 2   allocations to make them reflect a fairer distribution.

 3          Only seven firms applied for distributions. There is no dispute that each of these firms

 4   contributed in some form to the common benefit. Two of the seven law firms served as MDL

 5   trial counsel: MLG and Andrus Wagstaff. Two others served as state court trial counsel:

 6   Wisner Baum and The Miller Firm. As this Court previously acknowledged, the three initial

 7   trials, and particularly the Hardeman verdict, “helped pave the way for substantial settlements

 8   for other MDL plaintiffs…” [Dkt. 13192 at 28.] Likewise, the Fee Committee applauded the

 9   work of trial counsel in Hardeman stating,

10                  [t]here is no question that the Hardeman verdict was critical to the success
                    of the litigation and greatly benefitted all MDL plaintiffs. As the only
11                  bellwether trial in the MDL, the Hardeman trial proceedings served as a
                    guidepost for future federal trials and resulted in substantial work product,
12
                    including critical evidentiary and admissibility rulings from the Court.
13                  There was undoubtedly a “salutary rippling effect” that the Hardeman
                    verdict had on the other MDL cases.
14
     [Dkt. 17817 at 12.]
15
            However, even after these major victories, immediate settlements did not occur. Ms.
16
     Moore had to spend over a year actively engaged in settlement negotiations for thousands of
17
     cancer victims including clients of multiple court-appointed leadership firms in the MDL and
18
     non-leadership MDL firms. It took over a year of intense and long negotiations with Monsanto
19
     before it started settling cases. In fact, almost a year after the Hardeman verdict, Ms. Moore
20
     settled the very first Roundup case in the country in January 2020. That led to other individual
21
     settlements early in 2020 including two cases Ms. Moore negotiated for two of the other Fund
22
     applicants, and for no fee in either case. MLG recognized the global benefit of getting Monsanto
23
     to the table and having cases start resolving. From the summer of 2019 until the fall of 2020,
24
     Ms. Moore spent nearly every single day advocating for a global settlement, then ultimately for a
25
     critical mass of settlements. Working with Monsanto’s general counsel as well as outside
26
     settlement counsel, Ms. Moore created the framework for eligibility for settlement and drafted
27
     and negotiated the template settlement agreement used by thousands of claimants and multiple
28
     MDL law firms, including leadership. MLG then administered settlements for thousands of
                                                     -2-
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 1   claimants including those represented by Fund applicants and other MDL firms. There is no

 2   question Ms. Moore’s work both in the trial and settlement contexts benefitted all MDL

 3   plaintiffs.

 4           That is why it is simply unfair to disproportionally allocate the three firms on the Fee

 5   Committee 81%. MLG recently requested an accounting of the Fund and learned that there has

 6   been a total of $25,367,310.54 in deposits from 142 firms with earned interest of $1,790,435.27.

 7   After payment of taxes and fees to the Fund Administrator, the Fund has a balance as of

 8   February 28, 2025 of $26,521,665.08.

 9           Over 61% of the Fund’s deposits originate from four law firms: MLG, Andrus Wagstaff,

10   The Miller Firm, and Weitz and Luxenberg. By allocating themselves 81%, the Fee Committee

11   is shifting a substantial amount of MLG’s fees to themselves. In fact, MLG is the only firm with

12   a current allocation percentage that results in the firm contributing more than their

13   disbursements. This is simply wrong.

14                  Law Firms to       Current        Percentage       Difference
                    Receive            Allocation     Contributed
15                  Disbursement                      to Fund
16
                    Andrus Wagstaff    30%            24.59%2          +5.41%
17                  The Miller Firm    24.5%          12.88%           +11.62%
                    Moore Law          8%             12.53%           -4.53%
18                  Group
                    Weitz &            26.5%          11.32%           +15.18%
19
                    Luxenberg
20                  Wisner Baum        7%             2.73%            +5.89%
                    Lockridge          2%             0.38%            +1.62%
21                  Andrus             2%             0.00%            +2%
                    Anderson
22

23           MLG contributed $3,179,719.23 to the Fund and $428,585.37 of its Hardeman fee was
24   paid into the Fund for a total of $3,608,304.60. Despite this, the Fee Committee believes that it
25

26
     2
       Andrus Wagstaff’s contribution to the Fund includes the full 8% holdback from the Hardeman
     verdict including MLG’s fee share for the holdback. Adding the amount MLG paid to the Fund
27   (via Andrus Wagstaff) from its Hardeman fees, MLG’s percentage increases from 12.53% to
     14.22% and Andrus Wagstaff’s decreases from 24.59% to 22.90%. This shows that the MDL
28   trial counsel—Ms. Wagstaff and Ms. Moore—contributed the largest amounts to the Fund—over
     37%; yet, Ms. Moore’s firm is the only firm in the negative.
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 1   would be appropriate to redistribute approximately $1.6 million of fees earned by Moore Law

 2   Group to themselves. This does not comport with fairness or the law. See In re Vioxx Prods.

 3   Liab. Litig., 802 F. Supp.2d 740, 773 (E.D. La. 2011) (“…trials and the preparation involved

 4   therein played a substantial role in creating an environment in which settlement could be

 5   spawned, birthed, and nurtured. Therefore, in this case the attorneys who took up the

 6   cudgels and participated in those trials deserve an appropriate recognition for their efforts.

 7   To simply total the hours spent, apply an appropriate lodestar factor, and allocate the fee on that

 8   basis alone would not be appropriate in this case.”) (emphasis added).

 9          While the Court should not merely consider the percentage contributed versus percentage

10   disbursed, the above chart illustrates the inequitable result of the current allocation with such a

11   heavy percentage allocated to the Fee Committee. The proposed percentage is not in line with

12   the substantive and critical role Moore Law Group contributed to the MDL as a whole, both as

13   trial counsel and also leading settlement negotiations to the benefit of thousands of cancer

14   victims represented by multiple MDL leadership and non-leadership firms. For these reasons,

15   MLG respectfully requests the Court reconsider its allocation of 81% to the Fee Committee and

16   reasonably and fairly increase the allocation to MLG given its MDL work.

17   Dated: March 20, 2025                                MOORE LAW GROUP, PLLC

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19
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 1                                      CERTIFICATE OF SERVICE

 2          I HEREBY CERTIFY that on this 20th day of March 2025, a copy of the foregoing was
 3
     filed with the Clerk of the Court through the CM/ECF system which sent notice of the filing to
 4
     all appearing parties of record.
 5

 6                                                      /s/ Jennifer A. Moore
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